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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 DONALD J. TRUMP FOR                          )     CIVIL ACTION
 PRESIDENT, INC., ET AL.                      )
                                              )     (Judge Brann)
                                              )
              Plaintiffs,                     )
                                              )
       v.                                     )     No. 4:20-CV-02078
                                              )
 KATHY BOOCKVAR, ET AL.                       )
              Defendants.                     )

            MOTION FOR TEMPORARY RESTRAINING ORDER
                  AND PRELIMINARY INJUNCTION

      Plaintiffs hereby move for a temporary restraining order and preliminary

injunction barring Defendants from certifying the results of the November 3, 2020

General election. Plaintiffs are entitled to that relief—which will give this Court time

to rule on the merits before the safe harbor date of December 8, 2020—for the

reasons outlined in the attached memorandum.

                                           Respectfully submitted,

                                           /s/ Linda A. Kerns
                                           Linda A. Kerns, Esquire
                                           Law Offices of Linda A. Kerns, LLC
                                           Attorney ID 84495
                                           1420 Locust Street, Suite 200
                                           Philadelphia, PA 19102
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                                           Counsel for all Plaintiffs
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 12th day of November, 2020, I served a true and

correct copy of the foregoing motion and attachments via the CM/ECF system.

                                        /s/ Linda A. Kerns
                                        Linda A. Kerns, Esquire
                                        Law Offices of Linda A. Kerns, LLC
                                        Attorney ID 84495
                                        1420 Locust Street, Suite 200
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                                        Counsel for all Plaintiffs
       Case 4:20-cv-02078-MWB Document 89 Filed 11/12/20 Page 3 of 3




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                         )          20-CV- No. 4:20-CV-02078
PRESIDENT, INC., ET AL.                     )
                                            )          (Judge Brann)
              Plaintiffs,                   )
                                            )
       v.                                   )
                                            )
KATHY BOOCKVAR, ET AL.                      )
                                            )
              Defendants.                   )

           PROPOSED ORDER GRANTING PLAINTIFFS’
    VERIFIED MOTION FOR TEMPORARY RESTRAINING ORDER
               AND PRELIMINARY INJUNCTION

      Upon consideration of Plaintiffs’ motion for temporary restraining order and

preliminary injunction and accompanying attachments; any oppositions thereto; any

reply; and for good cause shown, it is hereby:

      ORDERED that Plaintiffs’ Motion is GRANTED.

      FURTHER ORDERED that Defendants (including their officers agents,

servants, employees, attorneys, and any persons acting in active concert or

participation with them) shall refrain from certifying the results of the November 3,

2020 general election pending further order of this Court.




November ____, 2020
                                                The Honorable Matthew W. Brann
